UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
JANE SMITH, MARY DOE,                                :
                                                              21-CV-1715 (RA)(OTW)
                 Plaintiffs,                         :
                                                              AMENDED ANSWER TO AMENDED
                                                     :        COMPLAINT ON BEHALF OF
        -against-                                             ANNUCCI & EFFMAN
                                                     :
ANTHONY J. ANNUCCI, et. al.,
                                                     :
                  Defendants.
-----------------------------------------------------X

        Defendants Anthony Annucci, Commissioner of the New York State Department of

Corrections and Community Supervision (“DOCCS”), and Jason Effman, Associate

Commissioner and PREA Coordinator for DOCCS (“defendants”), by their attorney, LETITIA

JAMES, Attorney General of the State of New York, amend their Answer to the Amended

Complaint (“Complaint” or “Compl.”) as follows1:

        1.       With respect to the allegations contained in the introductory paragraph on pp. 1-2,

deny knowledge or information sufficient to form a belief as to the truth of the allegations, except

admit that plaintiffs set forth the parties they have sued herein, but deny any wrongdoing.

                                       NATURE OF THE ACTION

        2.       With respect to the allegations contained in paragraph 1 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations, except deny

any wrongdoing.

        3.       With respect to the allegations contained in paragraph 2 of the Complaint, the

statistics and studies cited speak for themselves and no response is necessary, to the extent a


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 To date, the Office of the Attorney General only represents supervisory defendants Annucci, Effman, Shipley, Maher,
and Nunez. This Answer is only being submitted on behalf of Annucci and Effman. Defendants Shipley, Maher, and
Nunez are separately moving to dismiss the claims against them.
response is necessary, deny plaintiffs’ characterization that there is an “astonishingly high rate of

sexual abuse of women” by prison staff within DOCCS, and deny any wrongdoing.

       4.       With respect to the allegations contained in paragraph 3 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations.

       5.      With respect to the allegations contained in paragraph 4 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations.

       6.      With respect to the allegations contained in paragraph 5 of the Complaint, deny the

allegations, but deny knowledge or information sufficient to from a belief as to the truth of the

allegations concerning “DOCCS supervisors” and staff at Bedford Hills Correctional Facility.

       7.      Deny knowledge or information sufficient to from a belief as to the truth of the

allegations contained in paragraphs 6-15 of the Complaint but deny any wrongdoing.

       8.      With respect to the allegations contained in paragraph 16 of the Complaint,

defendant Annucci denies knowledge or information sufficient to form a belief as to the truth of

the allegations. Defendant Effman denies that letters were sent to him by the Legal Aid Society

but admits that the Legal Aid Society did send letters to the Office of the Attorney General to be

forwarded to DOCCS but refers to those letters for the specific claims they raised. Denies that the

allegations raised in the Legal Aid letters were never investigated.

       9.      Deny knowledge or information sufficient to from a belief as to the truth of the

allegations contained in paragraphs 17-18 of the Complaint but deny any wrongdoing.

       10.     With respect to the allegations contained in paragraph 19 of the Complaint,

plaintiffs are asserting legal claims and no response is necessary. To the extent a response is

necessary, deny any wrongdoing.




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                                            PARTIES

       11.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in paragraphs 20-21 of the Complaint but admit that at the time of the events

at issue in this Complaint, plaintiffs were incarcerated by DOCCS at Bedford Hills Correctional

Facility (“Bedford Hills”).

       12.     Defendants admit the allegations contained in paragraph 22 of the Complaint,

except deny that Annucci is responsible for enforcing policies. To the extent that plaintiffs assert

that Commissioner Annucci is being sued in his individual capacity, this is a legal conclusion and

no response is necessary. To the extent a response is necessary, deny any wrongdoing.

       13.     Defendants admit the allegations contained in paragraph 23 of the Complaint. To

the extent that plaintiffs assert that Associate Commissioner Effman is being sued in his individual

capacity, this is a legal conclusion and no response is necessary. To the extent a response is

necessary, deny any wrongdoing.

       14.     With respect to the allegations contained in paragraphs 24-35 of the Complaint,

admit that these individuals have been named as defendants in the instant action and no response

is necessary. To the extent plaintiffs assert the legal capacity within which they are suing these

named defendants, this is a legal conclusion and no response is necessary. To the extent a response

is necessary, deny any wrongdoing.

                                JURISDICTION AND VENUE

       15.     Defendants deny that any response is required to the allegations asserted in

paragraph 36 of the Complaint as they make assertions of law and consist of plaintiffs’

characterization of the action, and respectfully refer any question of law contained therein to the




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Court. To the extent a response may be deemed required, Defendants admit that plaintiffs assert

jurisdiction under the statutes cited but deny any wrongdoing.

       16.     Defendants deny that any response is required to the allegations asserted in

paragraph 37 of the Complaint as they make assertions of law and consist of plaintiffs’

characterization of the action, and respectfully refer any question of law contained therein to the

Court. To the extent a response may be deemed required, defendants admit that plaintiffs assert

venue under the statutes cited but deny any wrongdoing.

                                       RELEVANT FACTS

A.     History of Sexual Abuse of Women Incarcerated in New York State Prisons

       17.     With respect to sub-heading “A” of the RELEVANT FACTS section, deny

knowledge or information sufficient to form belief as to the truth of the allegations.

       18.     Admit the allegations contained in paragraph 38 of the Complaint.

       19.     With respect to the allegations contained in paragraph 39 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations. To the extent

plaintiffs cite to statistics or reports, those materials speak for themselves and no response is

necessary. To the extent a response is necessary, deny any wrongdoing.

        20.    Deny knowledge or information sufficient to form a belief as to the truth of the

allegations asserted in paragraphs 40-41 of the Complaint.

       21.     With respect to the allegations contained in paragraph 42 of the Complaint, no

response is necessary as plaintiffs refer to two statutes and defendants refer to those statutes for

the legislative intent supporting them.

       22.     With respect to the allegations contained in paragraph 43 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations.



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       23.     With respect to the allegations contained in paragraphs 44-45 of the Complaint,

deny knowledge or information sufficient to form a belief as to the truth of the allegations. To the

extent plaintiffs cite to statistics/reports, those materials speak for themselves and no response is

necessary, except that defendants deny any wrongdoing.

       24.     With respect to the allegations contained in paragraphs 46-48 of the Complaint,

deny knowledge or information sufficient to form a belief as to the truth of the allegations. To the

extent plaintiffs cite to statistics/reports, those materials speak for themselves and no response is

necessary, except that defendants deny any wrongdoing.

B.     Plaintiffs Were At High Risk of Sexual Assault Upon Entering BHCF

       25.     With respect to sub-heading “B” of the RELEVANT FACTS section, deny the

allegations.

       26.     With respect to the allegations contained in paragraphs 49-52 of the Complaint, the

PREA act, its standards, and legislative history speak for themselves and no response is necessary.

       27.     Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations contained in paragraphs 53-62 of the Complaint.

C.     Defendant Sergeant B Sexually Harassed Ms. Smith Throughout Her Time at BHCF

       28.     With respect to sub-heading “C” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.

       29.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 63-66 of the Complaint.

D.     Defendant Sergeant B Forced Ms. Doe to Perform Oral Sex

       30.     With respect to sub-heading “D” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.



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       31.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 67-69 of the Complaint.

E.     Defendant Officer C Forced Ms. Smith to Perform Oral Sex on Him with the Help of
       Defendants Officer B and Officer A

       32.     With respect to sub-heading “E” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.

       33.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 70-84 of the Complaint.

F.     Defendant Officer C Was Allowed to Interact with Ms. Smith and Continued to
       Sexually Harass Her with the Knowledge of Defendants Velez, Captain A, Captain B,
       Lieutenant A, Grievance Supervisor A and Investigator A

       34.     With respect to sub-heading “F” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.

       35.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 85-97 of the Complaint.

G.     Defendant Officer D Sexually Assaulted Ms. Smith by Inserting Her Finer in Ms.
       Smith’s Vagina in an Alleged Search for Contraband with the Help of Defendants
       Sergeant A and Unidentified Officer, Which Ms. Smith Reported to Her Prison
       Psychologist and Defendants Grievance Supervisor A and Investigator A.

       36.     With respect to sub-heading “G” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.

       37.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 98-109 of the Complaint.




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H.     Defendants Officer C and Sergeant B Raped Ms. Smith While She was Alone in the
       Medical Clinic, Which She Reported to her Prison Psychologist and in an Inmate
       Grievance

       38.     With respect to sub-heading “H” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations.

       39.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 110-119 of the Complaint.

       40.     With respect to the allegations contained in paragraphs 120-124 of the Complaint,

defendants deny knowledge of information sufficient to form a belief as to the truth of the

allegations, except defendant Effman denies that the Legal Aid Society sent letters to him. To the

extent such letters were sent to the Office of the Attorney General, refers to the letters themselves

for the specific claims they raised.

       41.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 125-126 of the Complaint.

I.     Defendants Annucci, Effman, Kaplan, Daye and Velez Are Responsible for
       Preventing Sexual Abuse and Retaliatory Actions Against Victims at BHCF

       42.     With respect to sub-heading “I” of the RELEVANT FACTS section, deny

knowledge of information sufficient to form a belief as to the truth of the allegations, except

deny that Annucci and Effman are responsible for preventing sexual abuse and retaliatory actions

against victims of sexual abuse at BHCF.

       43.     With respect to the allegations contained in paragraph 127 of the Complaint,

admit that defendant Annucci is responsible for enacting policies and procedures to protect the

safety of incarcerated individuals in DOCCS but deny that he is responsible for the enforcement

of those policies.



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       44.     With respect to the allegations contained in paragraph 128 of the Complaint, the

regulation speaks for itself and no response is necessary but admit that Jason Effman is DOCCS’

PREA Coordinator.

       45.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 129-130 of the Complaint.

J.     Defendants Annucci, Effman, Maher, Nunez, Shipley, Kaplan, Daye and Velez Were
       Aware of the Substantial Risks of Sexual Abuse to Female Prisoners in DOCCS
       Facilities and in BHCF in Particular

       46.     With respect to the sub-heading “J” of the RELEVANT FACTS section, deny

knowledge or information sufficient to form a belief as to the truth of the allegations and deny any

wrongdoing.

       47.     With respect to the allegations contained in paragraphs 131-132 of the Complaint,

the respective statutes speak for themselves.

       48.     With respect to the allegations contained in paragraph 133 of the Complaint, deny

the allegation as to Annucci and Effman but admit that DOCCS has a “zero tolerance” policy for

sexual abuse or sexual harassment of inmates. Deny knowledge or information sufficient to form

a belief as to the truth of the allegations as to defendants Maher, Nunez, Shipley, Kaplan, Daye

and Velez.

       49.     With respect to the allegations contained in paragraph 134 of the Complaint,

defendants Annucci and Effman deny knowledge or information sufficient to form a belief as to

the truth of the allegations, except admit their awareness of PREA, but deny that any response is

necessary as that statute speaks for itself in terms of the obligations it places on DOCCS. Deny

knowledge or information sufficient to form a belief as to the truth of the allegations as to

defendants Maher, Nunez, Shipley, Kaplan, Daye and Velez.



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       50.     With respect to the allegations contained in paragraph 135 of the Complaint,

defendants deny knowledge or information sufficient to form a belief as to the truth of the

allegations, but defendant Effman admits that there are certain characteristics that render inmates

more vulnerable to sexual abuse in prison at the hands of other inmates and correctional staff.

Deny knowledge or information sufficient to form a belief as to the truth of the allegations as to

defendants Maher, Nunez, Shipley, Kaplan, Daye and Velez.

       51.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 136 of the Complaint but deny that “sexual assault and

exploitation in DOCCS facilities, and in BHCF in particular, is rampant.”

       52.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 137 of the Complaint but deny that there is a “persistent” and

“prevalent” problem at BHCF of incarcerated individuals being sexually harassed, exploited, and

assaulted. With respect to the specific examples cited by plaintiffs of officers at BHCF who have

been arrested and have had criminal charges brought against them, Annucci and Effman admit,

generally that, through the defendants’ efforts and in furtherance of DOCCS’ zero tolerance policy

for sexual abuse or sexual harassment, certain officers have had criminal charges brought against

them for sexual offenses or other charges related to sexual abuse of incarcerated individuals at

BHCF, but with respect to the specific examples listed by the plaintiffs, refer to the articles cited

by plaintiffs and to the public record.

       53.     With respect to the allegations contained in paragraph 138 of the Complaint, admit

that Annucci and Effman have been sued in several lawsuits, but refer to those lawsuits for the

allegations contained therein and for the nature of the relief sought. With respect to the specific

cases cited by plaintiffs, those are matters of public record and no response is necessary. Deny



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knowledge or information sufficient to form a belief as to the truth of the allegations asserted

against defendants Maher, Nunez, Shipley, Kaplan, Daye, and Velez.

       54.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 139 of the Complaint, except with respect to the specific

lawsuits cited by plaintiffs, those are matters of public record and no response is necessary. To the

extent a response is necessary, deny any wrongdoing.

       55.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 140 of the Complaint.

       56.     With respect to the allegations contained in paragraph 141 of the Complaint,

defendants Annucci and Effman are unable to respond to the Complaint since the term “prior

complaints” is ambiguous as to what types of complaints were made against the defendants. Deny

knowledge or information sufficient to form a belief as to the truth of the allegations pertaining to

defendants Maher, Nunez, Shipley, Kaplan, Daye, and Velez.

K.     Defendants Annucci, Effman, Maher, Nunez, Shipley, Kaplan, Daye and Velez Failed
       to Enact Supervisory Policies that Would Prevent Sexual Abuse by DOCCS Staff, and
       Defendants Annucci, Effman, Maher, Nunez, Shipley, Kaplan, Daye, Velez, Captain
       A, Captain B, Lieutenant A, Sergeant A and Sergeant B Failed to Enforce Existing
       Policies

       57.     With respect to sub-heading “K” of the RELEVANT FACTS section, deny the

allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient to

form a belief as to the truth of the allegations as to the remaining defendants.

       58.      With respect to the allegations contained in paragraphs 142-146, deny the

allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient to

form a belief as to the truth of the allegations as to the remaining defendants.




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       59.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraph 147 of the Complaint.

       60.     With respect to the allegations contained in paragraphs 148-155 of the Complaint,

deny the allegations as to defendants Annucci and Effman, but deny knowledge of information

sufficient to form a belief as to the truth of the allegations as to the remaining defendants.

       61.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraph 156 of the Complaint.

       62.     With respect to the allegations contained in paragraph 157 of the Complaint, deny

the allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient

to form a belief as to the truth of the allegations as to the remaining defendants.

       63.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraph 158 of the Complaint.

       64.     Defendants admit the allegations contained in paragraph 159 of the Complaint that,

in general, DOCCS has not promulgated a formal policy that provided for additional rounds to

more closely supervise staff about whom complaints of sexual abuse had been made but deny the

inference that appropriate supervisory practices are not utilized when deemed necessary. Deny

knowledge or information sufficient to form a belief as to the truth of the allegations pertaining to

defendants Kaplan, Daye, and Velez.

       65.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraph 160 of the Complaint.

       66.     With respect to the allegations contained in paragraph 161 of the Complaint, deny

the allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient

to form a belief as to the truth of the allegations as to the remaining defendants.



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       67.     Deny knowledge of information sufficient to form a belief as to the truth of the

allegations contained in paragraph 162 of the Complaint but deny any wrongdoing.

       68.     With respect to the allegations contained in paragraph 163 of the Complaint, deny

the allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient

to form a belief as to the truth of the allegations as to the remaining defendants.

       69.     With respect to the allegations contained in paragraph 164 of the Complaint, deny

knowledge or information sufficient to form a belief as to the truth of the allegations but admit that

there is no DOCCS-wide policy prohibiting officers from being alone with female inmates but

deny any wrongdoing. Deny knowledge or information sufficient to form a belief as to the truth of

the allegations pertaining to defendants Kaplan, Daye, and Velez.

       70.     With respect to the allegations contained in paragraph 165 of the Complaint, deny

the allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient

to form a belief as to the truth of the allegations as to the remaining defendants.

       71.     With respect to the allegations contained in paragraph 166 of the Complaint, deny

the allegations as to defendants Annucci and Effman, but deny knowledge of information sufficient

to form a belief as to the truth of the allegations as to the remaining defendants.

       72.     Deny the allegations contained in paragraph 167 of the Complaint.

       73.     Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 168-171.

       74.     Deny the allegations contained in paragraph 172 of the Complaint as to Annucci

and Effman but deny knowledge or information sufficient to form a belief as to the truth of the

allegations with respect to the other defendants.




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          75.   Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 173-175 of the Complaint.

          76.   Deny the allegations contained in paragraphs 176-177 of the Complaint, except

deny knowledge or information sufficient to form a belief as to the truth of the allegations

pertaining to defendants Kaplan, Daye, and Velez.

          77.   Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 178-179 of the Complaint.

   FIRST CLAIM FOR RELIEFAGAINST DEFENDANTS OFFICER C, OFFICER D,
                UNIDENTIFIED OFFICER AND SERGEANT B

      EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
                            CONSTITUTION
                     -Cruel and Unusual Punishment-

          78.   As to the allegations contained in paragraph 180 of the Complaint, defendants

repeat, re-allege, and incorporate their responses to paragraphs 1-179, as if more fully set forth

herein.

          79.   Defendants deny knowledge and information sufficient to form a belief as to the

truth of the allegations contained in paragraphs 181-189 of the Complaint, except to the extent

plaintiffs are raising legal arguments to which no response is necessary.

   SECOND CLAIM FOR RELIEF AGAINST DEFENDANTS VELEZ, CAPTAIN A,
      CAPTAIN B, SERGEANT A, LIEUTENANT A, OFFICER A, OFFICER B,
  GRIEVANCE SUPERVISOR A, INESTIGATOR A AND UNIDENTIFIED OFFICER

           EIGHT AND FOURTEETH AMENDMENTS TO THE UNITED STATES
                               CONSTITUTION
                              -Failure to Protect-

          80.   As to the allegations contained in paragraph 190 of the Complaint, defendants

repeat, re-allege, and incorporate their responses to paragraphs 1-189, as if more fully set forth

herein.

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          81.   With respect to the allegations contained in paragraphs 191-192 of the Complaint,

admit the allegations but deny knowledge or information sufficient to form a belief as to the truth

of the allegations as to the term “staff” and “contractual staff.”

          82.   With respect to the allegations contained in paragraphs 193-195 of the Complaint,

plaintiffs are raising legal arguments and no response is necessary. To the extent a response is

necessary, deny as to defendants Annucci and Effman but deny knowledge or information

sufficient to form a belief as to the truth of the allegations as to the remaining defendants.

                    THIRD CLAIM FOR RELIEF AGAINST OFFICER E

       EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
                            CONSTITUTION
                           -Failure to Protect-

          83.   As to the allegations contained in paragraph 196 of the Complaint, defendants

repeat, re-allege, and incorporate their responses to paragraphs 1-195, as if more fully set forth

herein.

          84.   With respect to the allegations contained in paragraphs 197-198 of the Complaint,

admit the allegations but deny knowledge or information sufficient to form a belief as to the truth

of the allegations as to the term “staff” and “contractual staff.”

          85.   With respect to the allegations contained in paragraphs 199-201 of the Complaint,

plaintiffs are raising legal arguments and no response is necessary. To the extent a response is

necessary, deny knowledge or information sufficient to form a belief as to the truth of the

allegations as to the remaining defendants, but deny and wrongdoing.




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FOURTH CLAIM FOR RELIEF AGAINST SUPERVISORY DEFENDANTS ANNUCCI,
     EFFMAN, NUNEZ, KAPLAN, MAHER, SHIPLEY, DAYE AND VELEZ

      EIGHTH AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
                                    CONSTITUTION
 -Failure to Implement Policies and Practices to Avoid Violations of Constitutional Rights
                       and Failure to Train/Supervise Employees-

          86.   As to the allegations contained in paragraph 202 of the Complaint, defendants

repeat, re-allege, and incorporate their responses to paragraphs 1-201, as if more fully set forth

herein.

          87.   With respect to the allegations contained in paragraphs 203-204 of the Complaint,

deny as to defendants Annucci and Effman, but deny knowledge or information sufficient to form

a belief as to the truth of the allegations as to the remaining defendants.

          88.   Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraph 205 of the Complaint.

          89.   With respect to the allegations contained in paragraphs 206 of the Complaint, deny

as to defendants Annucci and Effman, but deny knowledge or information sufficient to form a

belief as to the truth of the allegations as to the remaining defendants.

          90.   Deny knowledge or information sufficient to form a belief as to the truth of the

allegations contained in paragraphs 207-208 of the Complaint.

          91.   With respect to the allegations contained in paragraphs 209 of the Complaint, deny

as to defendants Annucci and Effman, but deny knowledge or information sufficient to form a

belief as to the truth of the allegations as to the remaining defendants.

          92.   With respect to the allegations contained in paragraphs 210 of the Complaint,

plaintiffs are raising legal arguments and no response is necessary. To the extent a response is




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necessary, deny as to Annucci and Effman, but deny knowledge or information sufficient to form

a belief as to the truth of the allegations as to the remaining defendants.

       93.     With respect to the allegations contained in the paragraph captioned “PRAYER

FOR RELIEF,” defendants admit that plaintiffs summarize their legal arguments, deny that there

is any basis for this action, deny that plaintiffs are entitled to such damages and relief, and deny

any alleged wrongdoing.

                                                DEFENSES

                               AS AND FOR A FIRST DEFENSE

       94.    The Complaint fails to state a claim or allege sufficient facts for which relief can be

granted.

                             AS AND FOR A SECOND DEFENSE

       95.     If any losses or damages were sustained by plaintiffs, which assumption is

expressly denied, then all such losses or damages have been caused and brought about by plaintiffs’

own fault, neglect, negligence, lack of care, inattention, poor judgment and culpable conduct,

without similar acts of the defendant having contributed thereto, and as a consequence of the

foregoing, the Complaint should be dismissed in all respects, and/or proven losses or damages, if

any, should be reduced and diminished in proportion to plaintiffs’ contributing and participating

negligence and fault.

                              AS AND FOR A THIRD DEFENSE

       96.     The alleged conduct was properly within the discretionary authority committed to

defendants to perform their official function, and the relief prayed for would constitute an improper

intrusion into said discretionary authority.




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                             AS AND FOR A FOURTH DEFENSE

       97.     The defendants at no time acted willfully or in malicious disregard of plaintiffs’

constitutional rights. As such, plaintiffs are not entitled to punitive damages or other relief.

                                   AS AND FOR A FIFTH DEFENSE

       98.     Defendants are not personally responsible for, or involved in, any acts of

commission, or omission alleged by plaintiffs, and cannot be held responsible for any agents,

servants, employees, or co-workers.

                               AS AND FOR A SIXTH DEFENSE

       99.     The alleged injuries sustained by plaintiffs in this action were caused in whole or

in part by the conduct of one or more parties or entities for whose conduct defendants are not

responsible.

                             AS AND FOR A SEVENTH DEFENSE

       100.    In light of possible parallel proceedings, plaintiffs’ claims may ultimately be barred,

in whole or in part, by the doctrine of res judicata and/or collateral estoppel.

                             AS AND FOR AN EIGHTH DEFENSE

       101.    Defendants have Qualified Immunity in that their conduct did not violate clearly

established law or it was objectively reasonable for persons in their position to believe that their

conduct did not violate clearly established law.

                                   AS AND FOR A NINTH DEFENSE

       102.    On information and belief, plaintiffs have failed to exhaust some of their claims in

this case and, therefore, those claims are barred by 42 U.S.C. § 1997e(a).




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                                  AS AND FOR A TENTH DEFENSE

       103.    Certain of plaintiffs’ claims are barred by the applicable Statutes of Limitations

and/or application of the doctrine of laches.

                              AS AND FOR AN ELEVENTH DEFENSE

       104.    To the extent that plaintiffs seek damages from defendants in their official capacity,

defendants have sovereign and Eleventh Amendment immunity.

                                  JURY TRIAL DEMANDED
       105.    Defendants demand a jury trial.
Dated: New York, New York
       December 6, 2021

                                                LETITIA JAMES
                                                Attorney General of the
                                                State of New York
                                                Attorney for Defendants Annucci & Effman
                                                By:

                                                /s/ Neil Shevlin__________
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